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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 JAMES HAYDEN,                                     )   CASE NO. 1:17-cv-02635-CAB
                                                   )
                            Plaintiff,             )   JUDGE CHRISTOPHER A. BOYKO
                                                   )
         v.                                        )
                                                   )   STIPULATED PROTECTIVE ORDER
 2K GAMES, INC., et al.,                           )
                                                   )
                            Defendants.            )


       The parties to this Stipulated Protective Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

   1. Scope. All documents produced in the course of discovery, including initial disclosures,

all responses to discovery requests, all deposition testimony and exhibits, other materials which

may be subject to restrictions on disclosure for good cause and information derived directly

therefrom (hereinafter collectively "documents"), shall be subject to this Order concerning

confidential information as set forth below. As there is a presumption in favor of open and public

judicial proceedings in the federal courts, this Order shall be strictly construed in favor of public

disclosure and open proceedings wherever possible. The Order is also subject to the Local Rules

of this District and the Federal Rules of Civil Procedure on matters of procedure and calculation

of time periods.

   2. Form and Timing of Designation. Any party or non-party producing documents in this

action under this Order (each a “Producing Party”) may designate documents as confidential and

restricted in disclosure under this Order by placing or affixing the words "CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER" or “ATTORNEYS EYES ONLY – SUBJECT TO

PROTECTIVE ORDER” on the document in a manner that will not interfere with the legibility
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of the document and that will permit complete removal of the designation. Documents shall be

designated prior to or at the time of the production or disclosure of the documents. When

electronically stored information is produced which cannot itself be marked with the designation

CONFIDENTIAL or ATTORNEYS EYES ONLY, the physical media on which such

electronically stored information is produced shall be marked with the applicable designation.

The party receiving such electronically stored information shall then be responsible for labeling

any copies that it creates thereof, whether electronic or paper, with the applicable designation.

By written stipulation the parties may agree temporarily to designate original documents that are

produced for inspection CONFIDENTIAL or ATTORNEYS EYES ONLY, even though the

original documents being produced have not themselves been so labeled. All information learned

in the course of such an inspection shall be protected in accordance with the stipulated

designation. The copies of documents that are selected for copying during such an inspection

shall be marked CONFIDENTIAL or ATTORNEYS EYES ONLY, as required under this Order

and thereafter the copies shall be subject to protection under this Order in accordance with their

designation. The designation of documents for protection under this Order does not mean that the

document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order.

    3. Documents Which May be Designated CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER. Any Producing Party may designate documents as CONFIDENTIAL

- SUBJECT TO PROTECTIVE ORDER upon making a good faith determination that the

documents contain information protected from disclosure by statute or that should be protected

from disclosure as confidential, including without limitation agreements and contracts; current and

future business, product, or strategic plans; financial information; marketing documents; private personal

identifying information; trade secrets; interrogatory answers; responses to requests for admission; or


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Documents or information that, if released publicly, would cause embarrassment or be damaging to

reputation of the Producing Party or third parties. .Public records and other information or

documents that are publicly available may not be designated as CONFIDENTIAL - SUBJECT

TO PROTECTIVE ORDER.

   4. Documents Which May be Designated ATTORNEYS EYES ONLY. Any Producing

Party may designate documents ATTORNEYS EYES ONLY after making a good faith

determination that (1) the documents contain information that is particularly sensitive, private, or

competitively valuable, including without limitation financial information, trade secrets, or other

competitively sensitive information about future business, products, or strategic plans and (2)

designating the document CONFIDENTIAL under this order would be insufficient to protect the

Producing Party’s competitive interests or the document discloses a party’s sensitive financial

information or an individual’s private information.

   5. Any copies or reproductions, excerpts, summaries, or other Documents or media that

paraphrase, excerpt, or contain information that has been designated CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY shall be treated as

Confidential Information or Highly Confidential Information pursuant to this Order.

   6. Depositions. Deposition testimony shall be deemed CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER or ATTORNEYS EYES ONLY – SUBJECT TO PROTECTIVE

ORDER only if designated as such. Such designation shall be specific as to the portions of the

transcript or any exhibit to be designated and made at the deposition or within 14 days after the

final transcript is made available to the parties by the court reporter. Thereafter, the deposition

transcripts and any of those portions so designated shall be protected, pending objection, under

the terms of this Order.

   7. Protection of Confidential Material.


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    a) General Protections. Documents designated for protection under this Order shall

        not be used or disclosed by the parties, counsel for the parties or any other persons

        identified in 6(b) for any purpose whatsoever other than to prepare for and to

        conduct discovery and trial in this action, including any appeal thereof.

    b) Protection of Documents Designated CONFIDENTIAL – SUBJECT TO

        PROTECTIVE ORDER. The parties and counsel for the parties shall not

        disclose or permit the disclosure of any CONFIDENTIAL - SUBJECT TO

        PROTECTIVE ORDER documents to any third person or entity except as set

        forth in subparagraphs 1)–7). Subject to these requirements, the following

        categories of persons may be allowed to review documents that have been

        designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER:

             1) Counsel. Counsel for the parties and employees and agents of counsel

               who have responsibility for the preparation and trial of the action;

             2) Parties. Parties and employees of a party to this Order.

             3) Court Reporters and Recorders. Court reporters and recorders engaged

               for depositions;

             4) The Court. This Court, the appellate court(s), the Court’s personnel, jurors,

               alternate jurors, and qualified persons (including necessary clerical personnel)

               recording, taking, or transcribing testimony or argument at any deposition,

               hearing, trial, or appeal in this Action;

             5) Consultants, Investigators and Experts. Consultants, investigators, or

               experts (hereinafter referred to collectively as "experts") employed by the

               parties or counsel for the parties to assist in the preparation and trial of this

               action or proceeding, but only after such persons have completed the


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               certification contained in Attachment A, Acknowledgment of

               Understanding and Agreement to Be Bound;

             6) Non-Party Fact Witnesses. Any non-party fact witness and his or her counsel,

               if separate from counsel to the Parties, when such disclosure is reasonably

               necessary for the purpose of deposition or trial preparation. All non-party fact

               witnesses shall execute the certification contained in Certification attached to this

               Order; and

             7) Others by Consent. Other persons only by written consent of the

               producing party or upon order of the Court and on such conditions as may

               be agreed or ordered. All such persons shall execute the certification

               contained in Attachment A, Acknowledgment of Understanding and

               Agreement to Be Bound.

    c) Protection of Documents Designated ATTORNEYS EYES ONLY –

        SUBJECT TO PROTECTIVE ORDER. The parties and counsel for the parties

        shall not disclose or permit the disclosure of any ATTORNEYS EYES ONLY –

        SUBJECT TO PROTECTIVE ORDER documents to any third person or entity

        except as set forth in subparagraphs 1) – 6). Subject to these requirements, the

        following categories of persons may be allowed to review documents that have

        been designated ATTORNEYS EYES ONLY – SUBJECT TO PROTECTIVE

        ORDER.

             1) Counsel. Counsel for the parties and employees and agents of counsel

               who have responsibility for the preparation and trial of the action;

             2) Court Reporters and Recorders. Court reporters and recorders engaged

               for depositions;


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             3) The Court. This Court, the appellate court(s), the Court’s personnel, jurors,

               alternate jurors, and qualified persons (including necessary clerical personnel)

               recording, taking, or transcribing testimony or argument at any deposition,

               hearing, trial, or appeal in this Action;

             4) Consultants, Investigators and Experts. Consultants, investigators, or

               experts (hereinafter referred to collectively as "experts") employed by the

               parties or counsel for the parties to assist in the preparation and trial of this

               action or proceeding, but only after such persons have completed the

               certification contained in Attachment A, Acknowledgment of

               Understanding and Agreement to Be Bound and;

             5) Others by Consent. Other persons only by written consent of the

               producing party or upon order of the Court and on such conditions as may

               be agreed or ordered. All such persons shall execute the certification

               contained in Attachment A, Acknowledgment of Understanding and

               Agreement to Be Bound.

    d) Control of Documents. Counsel for the parties shall take reasonable and

        appropriate measures to prevent unauthorized disclosure of documents designated

        for protection pursuant to the terms of this Order. Counsel shall maintain the

        originals of the forms signed by persons acknowledging their obligations under

        this Order for a period of 1 year after dismissal of the action, the entry of final

        judgment and/or the conclusion of any appeals arising therefrom.

    e) Copies. Prior to production to another party, all copies, electronic images,

        duplicates, extracts, summaries or descriptions (hereinafter referred to collectively

        as "copies") of documents designated for protection under this Order, or any


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               individual portion of such a document, shall be affixed with the designation if the

               word does not already appear on the copy. All such copies shall thereafter be

               entitled to the protection of this Order. The term "copies" shall not include indices,

               electronic databases or lists of documents provided these indices, electronic

               databases or lists do not contain substantial portions or images of the text of

               confidential documents or otherwise disclose the substance of the confidential

               information contained in those documents.

           f) Inadvertent Production. Inadvertent production of any document or information

               without a designation of "CONFIDENTIAL - SUBJECT TO PROTECTIVE

               ORDER" shall be governed by Fed. R. Evid. 502.

   8. Outside Counsel’s Advice. Nothing in this Order shall prevent or otherwise restrict

outside counsel from rendering advice to their clients and, in the course thereof, relying generally

on examination of documents protected under this Order; provided, however, that in rending

such advice and otherwise communicating with such clients, counsel shall not make specific

disclosure of any item so designated except pursuant to the provisions of this Order.

   9. Filing of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or

ATTORNEYS EYES ONLY – SUBJECT TO PROTECTIVE ORDER Documents Under

Seal. Absent a statute or an order of this Court, documents may not be filed under seal. See

L.R.5.2; Electronic Filing Policies and Procedures Manual Section 16. Neither this Stipulated

Protective Order nor any other sealing order constitutes blanket authority to file entire documents

under seal. Only confidential portions of relevant documents are subject to sealing. To the extent

that a brief, memorandum or pleading references any document marked as CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY – SUBJECT TO




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PROTECTIVE ORDER, then the brief, memorandum or pleading shall refer the Court to the

particular exhibit filed under seal without disclosing the contents of any confidential information.

If, however, the confidential information must be intertwined within the text of the document, a

party may timely move the Court for leave to file both a redacted version for the public docket

and an unredacted version for sealing.

   Absent a court-granted exception based upon extraordinary circumstances, any and all filings

made under seal shall be submitted electronically and shall be linked to this Stipulated Protective

Order or other relevant authorizing order. If both redacted and unredacted versions are being

submitted for filing, each version shall be clearly named so there is no confusion as to why there

are two entries on the docket for the same filing.

   If the Court has granted an exception to electronic filing, a sealed filing shall be placed in a

sealed envelope marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" or

“ATTORNEYS EYES ONLY – SUBJECT TO PROTECTIVE ORDER.” The sealed envelope

shall display the case name and number, a designation as to what the document is, the name of

the party on whose behalf it is submitted, and the name of the attorney who has filed the sealed

document. A copy of this Stipulated Protective Order, or other relevant authorizing order, shall

be included in the sealed envelope.

   Any and all documents that may have been subject to sealing during discovery or motion

practice will not enjoy a protected or confidential designation if the matter comes on for hearing,

argument, or trial in the courtroom. The hearing, argument, or trial will be public in all respects.

   10. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY – SUBJECT TO

PROTECTIVE ORDER designation is subject to challenge by any party or nonparty with




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standing to object (hereafter "party"). Before filing any motions or objections to a confidentiality

designation with the Court, the objecting party shall have an obligation to meet and confer in a

good faith effort to resolve the objection by agreement. If agreement is reached confirming or

waiving the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES

ONLY – SUBJECT TO PROTECTIVE ORDER designation as to any documents subject to the

objection, the designating party shall serve on all parties a notice specifying the documents and

the nature of the agreement. If the party objecting to the designation and the party producing the

designated information (the “Producing Party”) cannot resolve the objection after meeting and conferring,

the disputed information shall continue to be treated with the level of protection to which it is entitled

under Producing Party’s designation until the Court rules on a motion.

    11. Action by the Court. Applications to the Court for an order relating to any documents

designated for protection under this Order shall be by motion under Local Rule 7.1 and any other

procedures set forth in the presiding judge's standing orders or other relevant orders. Nothing in

this Order or any action or agreement of a party under this Order limits the Court's power to

make any orders that may be appropriate with respect to the use and disclosure of any documents

produced or use in discovery or at trial.

    12. Use of Confidential Documents or Information at Trial. All trials are open to the

public. Absent order of the Court, there will be no restrictions on the use of any document that

may be introduced by any party during the trial. If a party intends to present at trial documents

designated for protection under this Order or information derived therefrom, such party shall

provide advance notice to the other party at least five (5) days before the commencement of trial

by identifying the documents or information at issue as specifically as possible (i.e., by Bates

number, page range, deposition transcript lines, etc.) without divulging the actual documents or




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information designated for protection under this Order. The Court may thereafter make such

orders as are necessary to govern the use of such documents or information at trial.

   13. Obligations on Conclusion of Litigation.

           a) Order Remains in Effect. Unless otherwise agreed or ordered, this Order shall

               remain in force after dismissal or entry of final judgment not subject to further

               appeal.

           b) Return of Documents Designated for Protection Under this Order. Within

               thirty days after dismissal or entry of final judgment not subject to further appeal,

               all documents designated for protection under this Order, including copies as

               defined in ¶ 5(d), shall be returned to the producing party unless: (1) the

               document has been offered into evidence or filed without restriction as to

               disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to

               documents bearing the notations, summations, or other mental impressions of the

               receiving party, that party elects to destroy the documents and certifies to the

               producing party that it has done so. Notwithstanding the above requirements to

               return or destroy documents, counsel may retain attorney work product,

               including an index which refers or relates to information designated for

               protection under this Order, so long as that work product does not duplicate

               verbatim substantial portions of the text or images of confidential documents.

               This work product shall continue to be designated for protection under this

               Order. An attorney may use his or her work product in a subsequent litigation

               provided that its use does not disclose or use documents designated for

               protection under this Order.




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           c) Return of Documents Filed under Seal. After dismissal or entry of final

               judgment not subject to further appeal, the Clerk may elect to return to counsel

               for the parties or, after notice, destroy documents filed or offered at trial under

               seal or otherwise restricted by the Court as to disclosure.

   14. Order Subject to Modification. This Order shall be subject to modification by the

Court on its own motion or on motion of a party or any other person with standing concerning

the subject matter. Motions to modify this Order shall be served and filed under Local Rule 7.1

and the presiding judge's standing orders or other relevant orders.

   15. No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any documents or information

designated for protection under this Order by counsel or the parties is subject to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

   16. Persons Bound. This Order shall take effect when entered and shall be binding upon all

counsel and their law firms, the parties, and persons made subject to this Order by its terms.

   17. Logging Privileged Documents. Consistent with the Federal Rules of Civil Procedure, a

Party withholding or redacting any document on the grounds of privilege, immunity or any

similar claim shall provide to the Receiving Party a privilege or redaction log. The Parties shall

have no obligation to log material created after December 18, 2017. Documents not logged for

protection by attorney-client privilege, work-product privilege, or a similar privilege or

protection shall be produced.




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   The log shall contain the following information: (i) the date of the document; (ii) the

identity of all persons who sent, authored, signed or otherwise prepared the document; (iii) the

identity of all persons designated as addressees or copyees; (iv) a description of the contents of

the document that, without revealing information itself privileged or protected, is sufficient to

understand the subject matter of the document and the basis of the claim or privilege or

immunity; (v) the type or nature of the privilege asserted (e.g., attorney-client privilege, work

product doctrine, etc.); and (vi) for redacted documents only, the Bates numbers corresponding

to the first and last page of any document redacted. To the extent e-mail is included and

described on the log, any e-mail chain (i.e., a series of e-mails linked together by e-mail

responses and forwarding) that is withheld or redacted on the grounds of privilege, immunity or

any similar claim may be logged as a single entry and identified by the most recent (i.e., top-

most) e-mail. The parties shall not be required to break up an e-mail chain and log each

individual e-mail separately. If, however, e-mail contained within a given chain exists as a

separate document, then the parties shall log that material in accordance with this Paragraph.

Activities undertaken in compliance with the duty to preserve information (including, but not

limited to, litigation hold letters) are protected from disclosure under Federal Rules of Civil

Procedure 26(b)(3)(A) and (B).

   18. Application to Non-Parties. This Order shall apply to any non-party who (a) is

obligated to provide discovery, by deposition, production of documents, or otherwise, in this

Action, (b) requests the protection of this Order as to its documents, and (c) agrees to be bound

by the provisions of this Order by executing the Acknowledgment and Agreement to be Bound

attached to this Order at Attachment A. This Order also shall apply to Non-Parties who are

afforded access to documents or information produced in this Action, whether by deposition,




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production of documents, or otherwise. Prior to receiving such documents or information, such

Non-Parties shall execute the Acknowledgement and Agreement to be Bound attached to this

Order.

    19. Subpoenas. Any Party or person in possession of information that has been designated

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY –

SUBJECT TO PROTECTIVE ORDER who receives a subpoena or other process from any person

or entity who is not a Party seeking production or other disclosure of such information shall promptly

and in any case within three (3) business days give telephonic notice and written notice by overnight

delivery or facsimile to counsel for the Producing Party who designated the documents as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY –

SUBJECT TO PROTECTIVE ORDER, identifying the materials sought and enclosing a copy of the

subpoena or other process. The Party or person receiving the subpoena also shall inform the person

seeking the information that such information is subject to this Order. No production or other disclosure

of such information pursuant to the subpoena or other process shall occur before the last date on which

production may be made as specified in or required by the subpoena or other process. Nothing

contained within this Paragraph shall obligate any Party or person who receives a subpoena or other

process seeking the production or disclosure of information designated as CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY – SUBJECT TO

PROTECTIVE ORDER to resist such production or disclosure, or be construed as encouraging any

Party or person not to comply with any court order, subpoena, or other process.




So Ordered.
 Dated: 8/10/2019                                    s/Christopher A. Boyko
                                                     U.S. District Judge Christopher A. Boyko




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DATED: August 6, 2019

/s/ Joshua L. Simmons                              /s/ Andrew Alexander
Dale M. Cendali (admitted pro hac vice)            Daniel McMullen (Ohio Bar No. 0034380)
Joshua L. Simmons (admitted pro hac vice)          Georgia E. Yanchar (Ohio Bar No. 0071458)
Miranda Means (admitted pro hac vice)              Andrew Alexander (Ohio Bar No. 0091167)
Kirkland & Ellis LLP                               CALFEE, HALTER & GRISWOLD LLP
601 Lexington Avenue                               The Calfee Building
New York, New York 10022                           1405 East Sixth Street
Telephone: (212) 446-4800                          Cleveland, Ohio 44114-1607
dale.cendali@kirkland.com                          Telephone: (216) 622-8200
joshua.simmons@kirkland.com                        Facsimile: (216) 241-0816
miranda.means@kirkland.com                         dmcmullen@calfee.com
                                                   gyanchar@calfee.com
                                                   aalexander@calfee.com

David T. Movius (OH 0070132)                       Of Counsel
Matthew J. Cavanagh (OH 0079522)
McDonald Hopkins LLC                               Kimberly A. Pinter (Ohio Bar No. 0084277)
600 Superior Avenue, East, Ste. 2100               CALFEE, HALTER & GRISWOLD LLP
Cleveland, Ohio 44114                              The Calfee Building
Telephone: 216.348.5400                            1405 East Sixth Street
Fax: 216.348.5474                                  Cleveland, Ohio 44114-1607
dmovius@mcdonaldhopkins.com                        Telephone: (216) 622-8200
mcavanagh@mcdonaldhopkins.com                      Facsimile: (216) 241-0816
                                                   E-mail: kpinter@calfee.com
Attorneys for Defendants 2K Games, Inc. and
Take-Two Interactive Software, Inc.                Attorneys for Plaintiff James Hayden




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                                        ATTACHMENT A


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 JAMES HAYDEN,                                   )   CASE NO. 1:17-cv-02635-CAB
                                                 )
                           Plaintiff,            )   JUDGE CHRISTOPHER A. BOYKO
                                                 )
        v.                                       )
                                                 )   ACKNOWLEDGMENT AND
 2K GAMES, INC., et al.,                         )   AGREEMENT TO BE BOUND
                                                 )
                           Defendants.           )



       The undersigned hereby acknowledges that he/she has read the Protective Order dated in

the above-captioned action and attached hereto, understands the terms thereof, and agrees to be

bound by its terms. The undersigned submits to the jurisdiction of the United States District

Court for the Northern District of Ohio in matters relating to the Protective Order and

understands that the terms of the Protective Order obligate him/her to use documents designated

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or ATTORNEYS EYES ONLY –

SUBJECT TO PROTECTIVE ORDER in accordance with the Order solely for the purposes of

the above-captioned action, and not to disclose any such documents or information derived

directly therefrom to any other person, firm or concern.




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        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:




Date:
                                     Signature




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